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                                                      September 5, 2024

UNREDACTED VERSION SUBMITTED BY ECF AND U.S. MAIL

The Honorable William Alsup
Senior District Judge
U.S. District Court for the Northern District of California
San Francisco Courthouse
Courtroom 12 – 19th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

                    Re:       RoadRunner Recycling, Inc. v. Recycle Track Systems, Inc. et al. (Case
                              No. 3:23-cv-04804-WHA)

To Judge Alsup:

         Plaintiff RoadRunner Recycling, Inc. (“RoadRunner”) respectfully requests permission to
file a discovery motion seeking sanctions against Defendants Recycle Track Systems, Inc.
(“RTS”) and RecycleSmart Solutions, Inc. (“RecycleSmart”) (collectively, “Defendants”) for
spoliation of evidence pursuant to Fed. R. Civ. P. 37(e)(1) in the form of a jury instruction and an
award of attorneys’ fees and costs.1 Here are the facts:

        On January 13, 2023, counsel for RoadRunner sent a letter to Rob Duthie, the Chief
Executive Officer of RecycleSmart. See Ex. A. The letter notified Mr. Duthie that “Compology
[RoadRunner’s predecessor] hereby asserts an ownership interest in and to the intellectual
property associated with the Pello Technology.” Id. at 1. The letter requested that Defendants
“take all affirmative steps to identify and preserve, and cease any operations that would result in
the destruction of, information or documents that may pertain to the Pello Technology, including,
but not limited to, your development, training, design and marketing thereof.” Id. at 2. On
January 27, 2023, counsel responded to the letter on Defendants’ behalf. On January 31, 2023,
counsel for RoadRunner sent another letter to Defendants’ counsel, specifically alleging that
Defendants’ Pello machine learning (“ML”) technology misappropriated RoadRunner’s
technology and suggesting that the parties explore “pre-litigation resolution.” See Ex. B at 2.
Counsel for the parties met and conferred on February 6, 2023, when they further discussed
RoadRunner’s allegations against Defendants, but failed to reach a resolution.


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 On August 29, 2024, counsel for both parties met and conferred telephonically regarding
RoadRunner’s intent to file a motion for spoliation sanctions.



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        During his deposition on August 7, 2024, Yahya Laraki, the Senior ML Developer for
Defendants, testified that he trained Pello’s ML model using Compology images, see Ex. C at
136:4–18, but could not access that model, the Compology images he used to train the model, or
the data associated with the model because his work laptop was erased, see id. at 215:5–9. Mr.
Laraki testified that he trained approximately 20 to 50 ML models, all of which were stored
locally on his work computer until his data was selectively migrated and his computer was
reformatted as a result of RTS acquiring RecycleSmart. Id. at 64:14–65:3, 227:14–20.
Defendants’ counsel later confirmed that Mr. Laraki’s computer was reformatted during a
company-wide data migration that occurred between March and April of 2023. See Ex. D.

             Fed. R. Civ. P. 37(e)(1) provides:

                    If electronically stored information that should have been preserved
                    in the anticipation or conduct of litigation is lost because a party
                    failed to take reasonable steps to preserve it, and it cannot be
                    restored or replaced through additional discovery, the court . . . upon
                    finding prejudice to another party from loss of the information, may
                    order measures no greater than necessary to cure the prejudice.

         Anticipation of Litigation. The anticipation of litigation standard is an objective one,
“asking not whether the party in fact reasonably foresaw litigation, but whether a reasonable
party in the same factual circumstances would have reasonably foreseen litigation.” Waymo LLC
v. Uber Techs., Inc., No. C 17-00939 WHA, 2018 WL 646701, at *14 (N.D. Cal. Jan. 30, 2018)
(Alsup, J.). A cease and desist letter outlining a party’s allegations against the recipient is
sufficient to put a party on notice of potential litigation. See RG Abrams Ins. v. L. Offs. of C.R.
Abrams, 342 F.R.D. 461, 503 (C.D. Cal. 2022). Here, a reasonable party in the same factual
circumstances as Defendants would have reasonably foreseen litigation. By March or April
2023, when Mr. Laraki’s work computer was erased, Defendants had already received
correspondence from RoadRunner’s lawyers notifying Defendants that they were in breach of the
parties’ contracts, see Ex. A at 2, alleging that the Pello technology misappropriated
RoadRunner’s trade secrets, see id., including ML training data, see Ex. B at 2, requesting that
Defendants preserve relevant evidence, see Ex. A at 2, and suggesting an avenue for pre-
litigation resolution, see Ex. B at 2. Following the parties’ unsuccessful meet and confer on
February 6, a reasonable party in Defendants’ position would have anticipated litigation
involving, among other things, Defendants’ ML models. See id. Defendants recklessly
disregarded their obligation to preserve relevant evidence when the contents of Mr. Laraki’s
laptop were erased.

        Relevance. In the spoliation context, evidence is relevant if “a reasonable trier of fact
could find that it would support [the moving party’s] claim or defense.” Meta Platforms, Inc. v.
BrandTotal Ltd., 605 F. Supp. 3d 1218, 1236 (N.D. Cal. 2022). “Proving that lost evidence is
relevant can be a difficult task, however, because the evidence no longer exists. . . . Thus, a party
need only ‘come forward with plausible, concrete suggestions as to what [the destroyed]




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evidence might have been.’” RG Abrams Ins., 342 F.R.D. at 507; Waymo LLC, 2018 WL
646701, at *17 (finding evidence was relevant because it “could have been a link in the chain
showing” trade secret misappropriation). Here, RoadRunner alleges, among other things, that
Defendants misappropriated RoadRunner’s trade secrets by using Compology’s data to train
Defendants’ own ML model. RoadRunner has evidence of Defendants’ misappropriation in the
form of deposition admissions, documents produced in discovery, and source code. But
RoadRunner’s inability to inspect Mr. Laraki’s laptop and/or its contents precludes RoadRunner
at least from corroborating that evidence. For example, RoadRunner is precluded from
confirming the extent of Defendants’ use of Compology image data to train their earlier ML
models, confirming the amount of images and data used to train Defendants’ model(s), and
comparing the earlier ML models to the current ML model to determine what the current model
learned from the training of earlier ML models. Without the contents of Mr. Laraki’s laptop,
which are indisputably irrecoverable, RoadRunner is missing “a link in the chain” showing the
extent of Defendants’ misappropriation.

        Prejudice. The prejudice inquiry “looks to whether the [spoiling party’s] actions
impaired [the non-spoiling party’s] ability to go to trial or threatened to interfere with the rightful
decision of the case,” by, for example, forcing the non-spoiling party “to rely on incomplete and
spotty evidence” at trial. Leon v. IDX Sys. Corp., 464 F.3d 951, 959–60 (9th Cir. 2006). Failing
to preserve the Pello ML models trained on Compology images deprives RoadRunner of the
opportunity to show the jury key documentary evidence of misappropriation. The deleted
evidence would provide a direct link between the ML models trained on Compology images and
those allegedly trained on Pello images, of which RoadRunner has only circumstantial evidence.

        For the foregoing reasons, RoadRunner respectfully requests that the Court issue
sanctions against Defendants. “[T]rial courts have the broad discretionary power to permit a jury
to draw an adverse inference from the destruction or spoliation against the party or witness
responsible for that behavior so long as the party responsible had simple notice of potential
relevance to the litigation, with no requirement to prove bad faith.” Meta Platforms, Inc., 605 F.
Supp. 3d at 1237 (internal quotations omitted). Specifically, RoadRunner requests that the Court
instruct the jury that Defendants had a duty to and failed to preserve evidence and that inspection
of the laptop or its contents would reveal (1) that Defendants used Compology images and image
data to train their ML models, and (2) that Defendants used what they learned from the models
trained on Compology images to train their current ML models. Many courts have determined
that spoliation under Fed. R. Civ. P. 37(e)(1) warrants as sanctions a jury instruction and fees and
costs. See, e.g., id. at 1240; Phan v. Costco Wholesale Corp., No. 19-CV-05713-YGR, 2020 WL
5074349, at *4 (N.D. Cal. Aug. 24, 2020); Porter v. City & Cnty. of San Francisco, No. 16-CV-
03771-CW(DMR), 2018 WL 4215602, at *4 (N.D. Cal. Sept. 5, 2018).




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                                     Respectfully submitted,

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Attachments: Exhibits A–D




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